Case 8:16-cv-01469-JLS-JCG Document 65 Filed 09/29/17 Page 1 of 1 Page ID #:405



  ____________________________________________________________________________
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 8:16-cv-01469-JLS-JCG                                     Date: September 29, 2017
 Title: Jeremy Klein v. Hyundai Capital America

 Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

      Terry Guerrero                                                  N/A
       Deputy Clerk                                              Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                 ATTORNEYS PRESENT FOR DEFENDANT:

               Not Present                                       Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING STIPULATION OF
              DISMISSAL (Doc. 62)

        Before the Court is the parties’ Stipulation to dismiss Plaintiff’s individual claims
 with prejudice and the class claims without prejudice. (Stip., Doc. 62.) After reviewing
 the parties’ response to the Court’s Order and the Settlement Agreement (Docs. 62, 63),
 the Court does not find that the parties’ agreement is prejudicial to the putative class or
 collusive. See Diaz v. Trust Territory of the Pacific Islands, 876 F.2d 1401, 1408 (9th
 Cir. 1989). Accordingly, the Court GRANTS the Stipulation. The Court will issue the
 parties’ proposed order.

                                                            Initials of Preparer: tg




 ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                            1
